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ELEVENTH C|RCU|T TRANSCR|PT lNFOR|\/lAT|ON FORM

PART I. TRANSCRIPT ORDER INFORMATION
Appellonl to complete and file with the District Coztrt Clerk and the Court of AppeoL§' Clerk within 14 days of the filing of the notice of
appeal in all cases, including those in which there was no hearing or for which no transcript is orderedl

 

 

Short Case Style: Brinson - vs Providence Communitv Corrections
District Court No.: 2115'CV'00099'LGW'RSB Date Notice oprpeai Filed:OB/Ml 2913 Court of Appeals No.: 15°13599'3
(If Available)

CHOOSE ONE: i:i No hearing [l No transcript is required for appeal purposes |:l Ail necessary transcript(s)_on file
§ IAM ORDERH'~IG A TRANSCR]PT OF THE FOLLQW[NG FROCEEDINGS:

Check appropriate box(es) and provide all information requested:

 

 

 

 

 

 

HEARING DATE(S\ JUDGEMAG]STRATE COURT REPORTER NANIE(S)
E Pre-Trial Preeeedings 0 2 / 2 6 / 201 8 Hon . Lisa Godbey Wood Debra Gi 1bert
|:\ Trial
l:| Sentence
l:| Plee
|:l Other
b/IETHOD OF PAYMENT:

§ I CERTIFY THATI HAVE CON'I`ACTED THE COURT REPORTER(S) AND HAVB MADE SATISFACTORY
ARRANGEMENTS WITH THE COURT R.EPORTER(S) FOR PAY[NG THE COST OF THE TRANSCRIP'I`.

|:| CRlMlNAL JUSTICE ACT. Attoched for submission to District Judge/Magistmte is my completed CJA Form 24 requesting authorization
for government payment oftranscript. [A transcript of the following proceedings will be provided ONLY IF SPEClFICALLY AUTl-IORIZED
in ltem 13 on CJA Form 24: Voir Dire; Opening and Closing Stntements ofProsecution and Defense; Frosecution Rebutra]; Jury instructional

 

 

 

 

Ordering Cowisel.'Party: John t" Bell , .Tr - { counsel fur Brinsonl

Narne ofFirm'. Bell & Brigham

Street AddressfP.O. Box: PO BOX l 5 4 'l

City/StateJZip Code: Aucrusta_. GA 3 0 90 3-l5 47 Phene No.:'I'O 6- 722- 2014

   
   

l certt]§r flint l lmve completed ontlfiled PART
Reporter¢r) if ordering a transcan and s

DATE:Q[]§{IB SI

PART lI. T REPORTER ACKNOWLEI)GN[ENT

Court Reporter to complete med file wit the District Cow't Clerk within 14 days of receipt Tke Court Reporter shall send o copy to
the_Court oprpeols Clerk and to allportr`es.

Date Transcript Order received: ql iq _l Q-"l q

[X' Satisfactory arrangements for paying the cost of the transcript were completed on: "l‘/[ ‘i z 9- °/ 9

Cl Sati sfactory arrangements for paying the cost of the transcript have not been made.

No. of hearing days: l Estirna ed no. of transcript pages: 3- 0 Estimated filing date: / 01 /5'//37
DA'I`E: jzzzéf SlGNED: dé\`/. Phone No.: all l »"-.¢-,L 35 U J’
NOTE: The transcript is due to be Eied within 30 days of the date satisfactory arrangements for paying the cost of the
transcript were completed unless the Court Reporter obtains an extension of time to file the transcript

citt_:_'Loprpeals Clerk, sent n copy to the appropriate Cocm‘

 

Altorney for: l?lainti f f

 

 

 

PART lII. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN DISTRICT COURT
Cotrrt Reporter to complete andjile with the Dc'striot Conrt Clerlc on date of filing transcript in Dt'stric! Court. The Conrr
Reporter shall send a copy to the Court of Appeals Clerk on the some dote.

This is to certify that the transcript has been completed and filed with the district court on (date):
Actual No. of Volumes and Hearing Dates:

 

Date: Signature of Conrt Reporter:

 

Rev. 11/13

